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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  EDWARD JIOVANI,

                 Plaintiff,

  v.

  AMERICAN CORADIUS INTERNATIONAL LLC, a Delaware limited liability company,

                Defendant.


                                 COMPLAINT AND JURY DEMAND


                                           JURISDICTION

  1.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

  2.     This action arises out of the Defendant’s violation of the Fair Debt Collection

         Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                               VENUE

  3.     Venue is proper in this Judicial District.

  4.     The acts and transactions alleged herein occurred in this Judicial District.

  5.     The Plaintiff resides in this Judicial District.

  6.     The Defendant transacts business in this Judicial District.

                                              PARTIES

  7.     Plaintiff Edward Jiovani is a natural person.

  8.     The Plaintiff resides in the City of Denver, County of Denver, State of Colorado.
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  9.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

  10.   The Plaintiff is a “any person” as that term is used in 15 U.S.C. § 1692d preface.

  11.   Defendant American Coradius International LLC, is a Delaware limited liability

        company operating from an address at 2420 Sweet Home Road, Suite 150,

        Amherst, New York, 14228.

  12.   The Defendant’s registered agent in the state of Colorado is Corporation Service

        Company, 1560 Broadway, Suite 2090, Denver, Colorado, 80202.

  13.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

  14.   The Defendant is licensed as a collection agency by the state of Colorado.

  15.   The principal purpose of the Defendant is the collection of debts using the mails

        and telephone.

  16.   The Defendant regularly attempts to collect debts alleged to be due another.

  17.   The Defendant regularly collects or attempts to collect, directly or indirectly, debts

        owed or due or asserted to be owed or due another that arose out of transactions in

        which the money, property or services which are the subject of the transactions are

        primarily for personal, family or household purposes.

                                FACTUAL ALLEGATIONS

  18.   Sometime before 2011 the Plaintiff allegedly incurred a financial obligation that

        was primarily for personal, family or household purposes namely an amount due

        and owing on personal account owed to Chase (hereinafter the “Account”).

  19.   The Account constitutes a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

  20.   The Account went into default with Chase.



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  21.   After the Account went into default the Account was placed or otherwise

        transferred to the Defendant for collection.

  22.   The Plaintiff disputes the Account.

  23.   The Plaintiff requests that the Defendant cease all further communication on the

        Account.

  24.   The Defendant’s collector(s) were employee(s) of the Defendant at all times

        mentioned herein.

  25.   The Defendant acted at all times mentioned herein through its employee(s).

  26.   In the year prior to the filing of the instant action the Defendant and / or

        representative(s), employee(s) and / or agent(s) of the Defendant made

        telephone call(s) to the Plaintiff.

  27.   In the year prior to the filing of the instant action the Plaintiff called the

        Defendant.

  28.   The Defendant’s purpose for these telephone call(s) was to attempt to collect the

        Account.

  29.   The telephone call(s) each individually conveyed information regarding the

        Account directly or indirectly to the Plaintiff.

  30.   The telephone call(s) each individually constituted a “communication” as defined

        by FDCPA § 1692a(2).

  31.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant made telephone call(s) to the Plaintiff was to

        attempt to collect the Account.



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  32.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant had telephone conversation(s) with the Plaintiff was

        to attempt to collect the Account.

  33.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant received telephone call(s) from the Plaintiff was to

        attempt to collect the Account.

  34.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant attempting to collect the Account

        represented to the Plaintiff that making a payment is the only way to get the

        Account out of Chex Systems and that the Account will stay in Chex Systems

        until paid.

  35.   The Defendant’s representations stated in paragraph 34 were false and were

        false representations in connection with the collection of a debt, the Account.

  36.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant attempting to collect the Account

        represented to the Plaintiff that he could not dispute the Account with the

        Defendant and that he had to dispute the Account with Chase.

  37.   The Defendant’s representations stated in paragraph 36 were false and were

        false representations in connection with the collection of a debt, the Account.

  38.   The Plaintiff called the Defendant to discuss the Account and to dispute the

        Account on March 5, 2012.




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  39.   The Plaintiff and the Defendant had a telephone conversation regarding the

        Account on March 5, 2012.

  40.   During the telephone conversation between the Plaintiff and the Defendant

        regarding the Account on March 5, 2012 the Defendant and / or

        representative(s), employee(s) and / or agent(s) of the Defendant attempting to

        collect the Account represented to the Plaintiff that making a payment is the only

        way to get the Account out of Chex Systems and that the Account will stay in

        Chex Systems until paid.

  41.   The Defendant’s representations stated in paragraph 40 were false and were

        false representations in connection with the collection of a debt, the Account.

  42.   During the telephone conversation between the Plaintiff and the Defendant

        regarding the Account on March 5, 2012 the Defendant and / or

        representative(s), employee(s) and / or agent(s) of the Defendant attempting to

        collect the Account represented to the Plaintiff that he could not dispute the

        Account with the Defendant and that he had to dispute the Account with Chase.

  43.   The Defendant’s representations stated in paragraph 42 were false and were

        false representations in connection with the collection of a debt, the Account.

  44.   Upon information and belief the Defendant made an audio recording and/or audio

        recording(s) of the telephone conversation(s) it had with the Plaintiff on March 5,

        2012.




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  45.   Upon information and belief the Defendant has a copy or copies of the audio

        recording(s) of the telephone conversation(s) it had with the Plaintiff on March 5,

        2012.

  46.   Upon information and belief the Defendant kept written documentation and / or

        computer record(s) that document telephone call(s) to the Plaintiff on the Account

        in the year prior to the filing of the instant action.

  47.   Upon information and belief the Defendant kept written documentation and / or

        computer record(s) that document telephone call(s) from the Plaintiff to the

        Defendant on the Account in the year prior to the filing of the instant action.

  48.   Upon information and belief the Defendant made audio recording(s) of some of

        its telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing

        of the instant action.

  49.   Upon information and belief the Defendant made audio recording(s) of all of its

        telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing of

        the instant action.

  50.   Upon information and belief the Defendant has a copy or copies of the audio

        recording(s) of some of its telephone call(s) / conversation(s) with the Plaintiff in

        the year prior to the filing of the instant action.

  51.   Upon information and belief the Defendant has a copy or copies of the

        audio recording(s) of all of its telephone call(s) / conversation(s) with the Plaintiff

        in the year prior to the filing of the instant action.




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  52.   Upon information and belief in the time between when it received this Complaint

        and Jury Demand and when a Answer to this Complaint and Jury Demand was

        filed on its behalf with the Court the Defendant made an inquiry and/or

        investigation as to whether it had any audio recording(s) of any telephone

        conversation(s) between the Defendant and the Plaintiff.

  53.   Upon information and belief the Defendant sent copy(s) of any audio recording(s)

        that it had of telephone conversation(s) between the Defendant and the Plaintiff

        to the attorney and/or the law firm who employs the attorney who is filing the

        Answer to this Complaint and Jury Demand on behalf of the Defendant.

  54.   Upon information and belief the Defendant’s copies of the audio recording(s) of

        its telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing

        of the instant action substantiate the Plaintiff’s allegations in this action.

  55.   The Defendant and its representative(s), employee(s) and / or agent(s)

        statement(s) and action(s) constitute false or misleading representation(s) or

        mean(s) and violate FDCPA 1692e preface, e(2)(A), e(8) and e(10).

  56.   The Defendant and its representative(s), employee(s) and / or agent(s)

        statement(s) and action(s) constitute unfair or unconscionable means to collect

        or attempt to collect a debt and violate FDCPA 1692f preface.

  57.   “The Act is a strict liability statute; violations of the Act do not need to be

        intentional to be actionable.” Smith v. National Credit Systems, Inc., 807

        F.Supp.2d 836, 840 (D.Az. 2011).

  58.   “Because the FDCPA “is a “strict liability statute,” Plaintiff need only demonstrate



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        “one violation of its provisions” to be entitled to a favorable judgment.” Doshay v.

        Global Credit and Collection Corporation, 796 F.Supp.2d 1301, 1304 (D.Colo.

        2011).

  59.   As a consequence of the Defendant’s collection activities and

        communication(s), the Plaintiff seeks damages pursuant to FDCPA

        1692k(a).

                                   RESPONDEAT SUPERIOR

  60.   The representative(s) and / or collector(s) at the Defendant were employee(s) of

        the Defendant at all times mentioned herein.

  61.   The representative(s) and / or collector(s) at the Defendant were agent(s) of the

        Defendant at all times mentioned herein.

  62.   The representative(s) and / or collector(s) at the Defendant were acting within the

        course of their employment at all times mentioned herein.

  63.   The representative(s) and / or collector(s) at the Defendant were acting within the

        scope of their employment at all times mentioned herein.

  64.   The representative(s) and / or collector(s) at the Defendant were under the direct

        supervision of the Defendant at all times mentioned herein.

  65.   The representative(s) and / or collector(s) at the Defendant were under the direct

        control of the Defendant at all times mentioned herein.

  66.   The actions of the representative(s) and / or collector(s) at the Defendant are

        imputed to their employer, the Defendant.




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  67.    As a direct and proximate result of the aforesaid actions, the Plaintiff seeks

         damages pursuant to FDCPA 1692k(a).

                                 COUNT I, FDCPA VIOLATION

  68.   The previous paragraphs are incorporated into this Count as if set forth in full.

  69.   The act(s) and omission(s) of the Defendant and its representative(s),

         employee(s) and / or agent(s) violated the FDCPA, § 1692e preface, e(2)(A),

         e(8), e(10) and § 1692f preface.

  70.   Pursuant to FDCPA section 1692k the Plaintiff seeks damages, reasonable

        attorney's fees and costs.




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                                 JURY TRIAL DEMAND

   The Plaintiff is entitled to and hereby demands a trial by jury. U.S. Const. amend. 7.,

   Fed. R. Civ. Pro. 38.

                                         PRAYER

   WHEREFORE, the Plaintiff prays that the Court grants the following:

   1.   A finding that the Defendant violated the FDCPA and/or an admission from the

        Defendant that it violated the FDCPA.

   2.   Damages pursuant to 15 U.S.C. § 1692k(a).

   3.   Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

   4.   Such other and further relief as the Court deems just and proper.

                                           Respectfully submitted,

                                           _s/ David M. Larson        ________
                                           David M. Larson, Esq.
                                           88 Inverness Circle East, Suite I-101
                                           Englewood, CO 80112
                                           (303) 799-6895
                                           Attorney for the Plaintiff




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